                  Case 23-16969      Doc 27     Filed 10/02/23     Page 1 of 24




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND

 In re:

 ROMAN CATHOLIC ARCHBISHOP OF                        Chapter 11
 BALTIMORE,
                                                     Case No. 23-16969
 Debtor.

                    PRELIMINARY OBJECTION OF EVA DITTRICH
                  TO DEBTOR’S MOTION FOR ENTRY OF AN ORDER,
                   PURSUANT TO SECTIONS 105(A) AND 362 OF THE
               BANKRUPTCY CODE, EXTENDING THE AUTOMATIC STAY

          Eva Dittrich (“Ms. Dittrich”), by and through her undersigned counsel, respectfully

submits this objection (the “Objection”) to the Debtor’s Motion For Entry Of An Order, Pursuant

To Sections 105(A) And 362 Of The Bankruptcy Code, Extending The Automatic Stay (the

“Motion”). In support of the Objection, Ms. Dittrich states as follows:

I.        PRELIMINARY STATEMENT

          1.    For decades, the Debtor obscured, obstructed, and hindered attempts by survivors

of childhood sexual abuse (“Abuse Survivors”), like Ms. Dittrich, to hold those responsible for the

sexual abuse perpetrated on children accountable. The Motion, like the Debtor’s underlying

bankruptcy filing, is yet another sad and despicable attempt by the Debtor to avoid responsibility

for the undue horror caused by it, its clergy members, its supporters and enablers. The Debtor, and

the predators that prowled under the color of its banner caused countless years of suffering by

Abuse Survivors like Ms. Dittrich, and those similarly situated. Absent the Debtor’s Chapter 11

filing, Ms. Dittrich would have initiated an action against the Debtor, like the one she initiated

against St. Clement, in pastorate with St. Phillip Neri, Lansdowne, Roman Catholic Congregation,

Incorporated, potentially a Covered Party, seeking some measure of justice for the horrendous



                                                1
                 Case 23-16969        Doc 27     Filed 10/02/23      Page 2 of 24




abuse she endured and the emotional, physical, spiritual, and financial harm she has suffered over

the ensuing decades.

       2.      The Motion is a gross abuse of process, with no real notice to or due process for

Abuse Survivors. The Motion is designed to protect non-debtor wrongdoers, who the Debtor would

have this Court award the protections of Chapter 11, without submitting to the Court’s supervision

as a debtor seeking relief under the Bankruptcy Code. Here, the Motion seeks to protect disclosed

and undisclosed non-debtor wrongdoers, against whom Ms. Dittrich and other Abuse Survivors

have direct sexual abuse claims.

       3.      Without even filing an adversary proceeding, the Debtor seeks a permanent

injunction to prevent the prosecution of all Abuse Actions against the “Covered Parties”. The

Debtor seeks this broad relief on a mere one (1) business day-notice, without providing proper

notice to the affected Abuse Survivors. The Court should deny the relief sought in the Motion

outright, without prejudice to the Debtor’s right to refile the Motion, with proper notice and giving

the Abuse Survivors the opportunity to fairly contest the Motion seeks.

       4.      The Debtor deliberately seeks to deny Abuse Survivors due process. The Debtor is

advised by competent and experienced counsel, Blake Roth, of the Holland & Knight law firm.

Mr. Roth also represented the Roman Catholic Diocese of Harrisburg, in its bankruptcy case. See

In re Roman Catholic Diocese of Harrisburg, No. 20-bk-00599 (Bankr. M.D. Pa.). In that case,

the debtor filed a similar stay extension motion five days after it filed its bankruptcy petition, and

set an objection deadline on that motion for four weeks later. See Diocese of Harrisburg, No. 20-

bk-00599, Dkt. No. 53. There was no emergency motion. There was no expedited timetable. And

a review of the Harrisburg court’s docket reveals there were no formal objections filed to the stay

extension motion. This is in stark contrast to the Debtor’s efforts here, where the Debtor is


                                                  2
                     Case 23-16969            Doc 27       Filed 10/02/23         Page 3 of 24




attempting to deprive Abuse Survivors of due process and impose a permanent stay on an

emergency basis.

         5.       Beyond due process infirmities, the Motion is presented ipsi dixit, without real

evidentiary support. “In support of th[e] Motion, the Debtor relies on and incorporates by reference

the Informational Brief of the Roman Catholic Archbishop of Baltimore [Dkt. No. 5].” Motion at

1. But the so-called ‘Informational Brief’ is not a sworn declaration, made under penalty of perjury

under 28 U.S.C. § 1746. Rather, it was written by the Debtor’s attorneys, on behalf of the Debtor.

Thus, the statements made in the ‘Informational Brief’ have no evidentiary value. Moreover, the

so-called ‘Informational Brief’ does not contain a single exhibit to support the truth of any of the

statements contained therein. Additionally, there are no citations to evidence to support the

statements made in the so-called ‘Informational Brief.’

         6.       The Motion also lacks precision and clarity on key points, 1 which is unexpected

given the importance of the Debtor’s request. If granted, the Motion will have a profound impact

on Abuse Survivors.

         7.       Further, the Motion fails based on the legal justification for the relief sought therein.

The extension of Bankruptcy Code section 362(a)(1) to non-debtors under Bankruptcy Code

section 105(a) is only granted in the presence of “unusual circumstances.” Here, no such unusual


1
    The Motion contains vague factual allegations where precision is absolutely necessary. For instance, the Debtor
    claims that “commencement and prosecution of an Abuse Claim against a Covered Party will necessarily divert
    key Debtor personnel from the reorganization process.” Motion ¶ 33. But neither the Motion nor the Matera
    Declaration identifies the “key Debtor personnel” by name.
    Similarly, while the Debtor asks the Court to order that “[t]he Debtor’s insurance policies are property of the
    Debtor’s estate,” (see Dkt. No. 12-1, ¶ 2), the Debtor never defines the “Debtor’s insurance policies.” Is the Debtor
    talking about the “Insurance Policies” listed on Exhibit C to their ‘Insurance Motion’, Dkt. No. 10-3? Is the Debtor
    talking about so-called ‘legacy and current insurance coverage for Abuse Actions’? See Motion ¶ 39. The Survivor
    Coalition and other Abuse Survivors subject to the relief sought in the Motion should not be left guessing who is
    covered by the relief sought. Moreover, the Court cannot and should not make that finding, based on the record
    contained in the Motion, the Matera Declaration (see Dkt. No. 12-1), and the so-called unsworn ‘Information
    Brief’.
                                                           3
                  Case 23-16969       Doc 27    Filed 10/02/23      Page 4 of 24




circumstances are present. The Motion argues that the automatic stay extends to the ‘Covered

Parties’ based on (i) shared insurance policies (but not the proceeds of those policies) that are

property of the Debtor’s estate, (ii) the Abuse Actions may expose the Debtor to “collateral

estoppel, adverse precedent, vicarious liability, or imputed admission if litigation continues,”

(iii) the commencement and prosecution of Abuse Claims against Covered Parties “will

necessarily divert key Debtor personnel from the [Debtor’s] reorganization process and, as a result,

undermine the administration of the [Debtor’s] estate and the ability of the Debtor to successfully

consummate a plan of reorganization, and (iv) allowing the Abuse Claims to move forward against

Covered Parties “would expose the Debtor to the risk of cross-claims for indemnification and

contribution, which in turn would necessarily require the Debtor’s participation in any Abuse

Claim against a Covered Party.” Motion ¶ 34.

        8.      The Debtor fails to meet its burden of proof on any of these grounds. The Debtor

offers no evidence that prosecution of non-debtor ‘Covered Parties’ will impede a restructuring.

The Debtor offers no evidence that such allegedly shared insurance policies will be significantly

depleted by defense costs. The Debtor offers no evidence sufficient to warrant a sweeping

permanent injunction to stay the entirety of the Abuse Actions. By the Debtor’s own admission,

the Maryland General Assembly enacted the Child Victims Act of 2023 (the “CVA”), only became

effective on October 1, 2023. Thus, no Abuse Action is anywhere close to a monetary recovery by

Abuse Survivors, let alone trials to adjudicate Abuse Survivors’ claims.

        9.      The Debtor cannot show any immediate threat of inconsistent judgments, collateral

estoppel, or res judicata.

        10.     The Debtor offers no evidence to support its contention that a permanent injunction

is necessary to avoid a burden on, and distraction of, unidentified, but identifiable Debtor


                                                 4
                  Case 23-16969        Doc 27      Filed 10/02/23   Page 5 of 24




employees. The Debtor instead relies on conclusory allegations of John Matera, the Debtor’s

Executive Director of Management Services & Chief Financial Officer, that the Abuse Actions

against Covered Parties “will deplete the estate’s assets, namely insurance coverage,” and “key

Debtor personnel will be diverted from the Debtor’s reorganization efforts and be required to

monitor and participate in any action in connection with any Covered Party.” Matera Decl. (Dkt.

No. 6) ¶ 176. Matera’s statements hardly constitute an evidentiary basis for the Court to make

findings that the pursuit of the Abuse Actions will interfere with the Debtor’s reorganization.

Similarly, Matera’s statements fail to meet Debtor’s burden of showing irreparable harm to the

Debtor’s estate or that the alleged harm of initiation and/or continuation of the Abuse Actions

against non-debtors outweighs the harm that Abuse Survivors, like Ms. Dittrich, will suffer if the

Motion is granted.

        11.     The Debtor offers no evidence to support the contention that the initiation and/or

continuation of the Abuse Actions against the Covered Parties will actually deplete an asset of the

Debtor’s estate. The Debtor offers no evidence about the features of the Debtor’s insurance

policies, including the so-called ‘legacy’ insurance policies. The Debtor offers no evidence that

the insurance policies are “wasting policies,” requiring the payment of defense costs, whether the

payment of defense costs is separate from the total limits on liability, and whether the insurance

policies are subject to aggregate limits of liability.

        12.     Additionally, the Motion fails because the Debtor cannot meet its burden to show

that enjoining the Abuse Actions is necessary to further a successful restructuring of the Debtor,

and that the traditional factors are met to support a preliminary injunction to preclude further

prosecution of the Abuse Actions.




                                                   5
                    Case 23-16969       Doc 27      Filed 10/02/23     Page 6 of 24




       13.        The Debtor asks this Court for the extraordinary relief of granting the Covered

Parties the protections afforded to a debtor in possession under the Bankruptcy Code, without the

related obligations that a debtor must undertake in exchange for such protections, such as

limitations on asset transfers and transparency regarding pre- and post-petition transactions. A

permanent stay of the Abuse Actions for the duration of the Debtor’s chapter 11 case, coupled with

the absence of any commitment by the Debtor to limit asset transfers by the Covered Parties, will

not accelerate settlement discussions at the outset of the Debtor’s bankruptcy case. Rather, the

Motion appears to be an inappropriate attempt to shield the Covered Parties from any discovery or

liability to Abuse Survivors by stopping all pending litigation in its tracks.

       14.        The sheer breadth of the requested permanent injunction, sought on an emergency

basis, only increases mistrust of the Debtor, and has the practical effect of impeding the Debtor’s

reorganization efforts. The Debtor is seeking to accomplish what they could not do through

lobbying at the Maryland State House. The Debtor’s bankruptcy case involves issues of high public

importance and prominence, novel in nature, and will be hard fought. It is just sad that the Motion

is one of the Debtor’s first-day motions, designed to exploit a lack of due process.

       15.        For all the reasons set forth herein, the Court should deny the Motion, and the relief

sought therein.

II.    FACTUAL BACKGROUND

       A.         The Child Victims Act

       16.        On April 11, 2023, Maryland Governor Wes Moore signed the Child Victims Act

of 2023 into law (the “CVA”). This landmark legislation eliminates the legal time limits on filing




                                                    6
                    Case 23-16969          Doc 27       Filed 10/02/23       Page 7 of 24




civil lawsuits against institutions for child sexual abuse. Previously, Maryland law barred adult

survivors of sex abuse from filing suit once they turned 38. 2

         17.     In February 2023, after the bill’s introduction, more than 60 survivors of childhood

sexual abuse testified before the Maryland General Assembly in support of the CVA. Many of the

brave survivors were abused by Catholic clergy. Despite the traumatic stories shared during the

legislative hearings, the Catholic Church adamantly opposed the bill.

         18.     The CVA becomes effective October 1, 2023, and by its terms provides that, among

other things, “notwithstanding any time limitation under a statute of limitations, a statute of repose,

. . . or any other law, an action for damages arising out of an alleged incident or incidents of sexual

abuse that occurred while the victim was a minor may be filed at any time.”

         19.     To bolster their efforts to kill the CVA and inoculate the Church from civil liability,

insider lobbyists to whom the Church paid hundreds of thousands of dollars, worked tirelessly to

further silence survivors’ voices. This lobbying effort is part of a nationwide assault on similar

bills across the country.

         20.     Notwithstanding these objections, the House passed the Act (House Bill 1), on a

vote of 132-2. The Act’s was some eight years in the making.

         21.     Reforming Maryland’s civil child sex abuse statute of limitations has always been

paramount to survivors and their advocates. But building enough support to pass the CVA only

happened in the wake of the Maryland Attorney General’s investigation into the Archdiocese of

Baltimore revealed the true scope of the problem.




2
    A valuable timeline of events leading up to the release of the Attorneys General Report can be found in in The
    Baltimore Banner. Timeline: Events leading to Archdiocese of Baltimore child sex abuse investigation.
    https://www.thebaltimorebanner.com/community/religion/child-sex-abuse-investigation-timeline-baltimore-
    archdiocese-6LDPUVCCKFGFZGIRWWMF6BBQ3I/, last accessed on October 1, 2023.
                                                        7
                    Case 23-16969          Doc 27       Filed 10/02/23        Page 8 of 24




         22.      In 2018, the Maryland Attorney General launched a four-year Grand Jury

investigation into the Archdiocese of Baltimore, examining criminal allegations of child sexual

abuse by clergy, seminarians, deacons, and employees of the Archdiocese. The investigated efforts

by Church leadership to cover-up rampant, unchecked occurrences of sexual abuse and physical

and emotional torture.

         23.      In April 2023, the Attorney General released its 500-page report documenting a

long history of widespread child sex abuse and systemic cover-ups of that abuse by the Church.

The report points to more than 600 child clergy abuse victims. The report implicated more than

156 clergy members (with more to be identified later), spanning an eight-decade effort by the

Archdiocese to cover up or minimize the abuse.

         24.      While publicly telling its members that the Archdiocese did not oppose the release

of this scathing report, the Archdiocese retained attorneys to represent certain individual clergy

named in the report in an effort to halt its release. 3

         25.      After months of legal proceedings, a revised version of the report revealing

additional high-ranking Church officials engaged in the cover up of abuse was released in

September 2023.

         26.      The CVA and the Attorney General’s Report gave Maryland’s survivors and their

advocates for justice and accountability.

         27.      The CVA’s importance to survivors cannot be overstated. Clergy members and

other trusted adults violated them in the most horrific way during the most vulnerable time of their




3
    “Five years after ‘The Keepers,’ Abuse Survivors still hoping for justice, transparency.” The Baltimore Banner,
    Published 12/6/2022        6:00        a.m.       EST, Updated 5/3/2023             2:45      p.m.       EDT).
    https://www.thebaltimorebanner.com/community/religion/the-keepers-netflix-abuse-catholic-church-
    investigation-5I52OBHDDBCONBPQNDUNPUDC2U/
                                                         8
                  Case 23-16969       Doc 27     Filed 10/02/23     Page 9 of 24




lives., Researchers on child sex abusers widely agree that, due to the shame and stigma associated

with sexual abuse, most survivors do not come forward for decades or longer. The CVA gives

those survivors a chance to seek some measure of justice and accountability.

       28.      The CVA became effective on October 1, 2023. Shortly before survivors had their

first opportunity to seek justice against their abusers and the institution that enabled the decades

of abuse, the Archdiocese of Baltimore declared bankruptcy on the afternoon of Friday, September

29, 2023.

       B.       The Bankruptcy

       29.      On September 29, 2023, the Debtor filed a voluntary petition for bankruptcy under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtor is authorized

to continue to operate its business and remains in possession of its property as a debtor in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner

has been appointed in the case.

       30.      The Debtor commenced its bankruptcy before a single case was filed under the

CVA.

       C.       The Motion

       31.      Filed on the first day of the Debtor’s case, the Motion seeks to permanently enjoin

sexual abuse actions against:

       all related entities included as additional insureds under the Debtor’s various current and
       legacy insurance programs, including but not limited to:

            the Debtor’s one hundred fifty-three (153) parishes,

            each of the schools within the Archdiocese covered under the Debtor’s insurance
             program,

            Catholic Community School Land, Inc.,

            Inter-Parish Loan Fund, Inc.,
                                                  9
                   Case 23-16969        Doc 27       Filed 10/02/23   Page 10 of 24




             Catholic Community Foundation of the Archdiocese of Baltimore, Inc.,

             Roman Catholic Foundation in the Archdiocese of Baltimore, Inc.,

             John Carroll Foundation of the Roman Catholic Archdiocese of Baltimore, Inc.,

             Associated Catholic Charities, Inc.,

             Maryland Catholic Conference, LLC, and

             all other related entities covered by the Debtor’s current and legacy insurance
              programs.

Motion at 1.

        32.      The Motion defines the foregoing persons as the “Covered Parties.” See id.

III.    THE PERMANENT INJUNCTION MOTION SHOULD BE DENIED

        33.      The Debtor seeks permanent injunctive relief to stay initiation and prosecution of

the Abuse Actions against the Covered Parties pursuant to Bankruptcy Code section 362(a)’s

automatic stay. Additionally, the Debtor seeks permanent injunctive relief to stay initiation and

prosecution of the Abuse Actions against the Covered Parties pursuant to the Court’s equitable

authority under Bankruptcy Code section 105(a). The Debtor fails to meet its burden for the relief

it seeks.

        A.       The Debtor Fails To Meet Its Burden To Establish A Factual Basis For
                 Extending The Automatic Stay Under § 362(a)(1) to the Non-Debtor Covered
                 Parties

        34.      The Motion is predicated on Section 362(a)(1). There is no doubt about that. And

the Debtor’s main argument, that “[t]he automatic stay can be extended under ‘unusual

circumstance” (see Motion at 8), is one that relies on the “unusual circumstances” test articulated

by the Fourth Circuit in A.H. Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir. 1986). See Motion

¶ 26. So, the objection starts there.




                                                     10
                 Case 23-16969       Doc 27        Filed 10/02/23   Page 11 of 24




       35.     By its terms, Bankruptcy Code section 362(a)(1) automatically stays the

commencement or continuation of any proceeding “against the debtor that arose before the

commencement of the case.” 11 U.S.C. § 362(a)(1) (emphasis added).

       36.     Courts agree that there is no automatic extension of Bankruptcy Code section 362(a)

with respect to co-defendants named in a lawsuit. See, e.g., Teachers Ins. & Annuity Assn v. Butler,

803 F.2d 61, 65 (2d Cir. 1986) (“It is well-established that stays pursuant to § 362(a) are limited to

debtors and do not encompass non-bankruptcy co-defendants;” stay of appeal as to individual

partners of debtor denied); Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 544 (5th Cir. 1983)

(“[W]e conclude that [Bankruptcy Code section] 362 does not operate as an automatic stay of claims

against the co-defendants of Johns-Manville and Unarco;” mandatory and discretionary stay of

litigation under sections 362 and 105 rejected).

       37.     Under controlling Fourth Circuit precedent cited by the Debtor, the Covered Parties

are entitled to the protections of § 362(a)(1) only where “unusual circumstances” exist, such as

“when there is such identity between the debtor and the third-party defendant that the debtor may

be said to be the real party defendant.” A.H. Robins, 788 F.2d at 999; see also In re DBMP LLC,

No. 2030080, Adv. Pro. No. 20-03004, 2021 WL 3552350, at *27 (Bankr. W.D.N.C. Aug. 11,

2021); In re Aldrich Pump LLC, No. 20-30608, Adv. Pro. No. 20-03041, 2021 WL 3729335, at *31

(Bankr. W.D.N.C. Aug. 23, 2021).

       38.     Here, the Debtor cannot demonstrate such “unusual circumstances” here. The

Motion and the Matera Declaration do not evidence that there are shared insurance policies, let

alone that the proceeds of those policies are property of the Debtor’s estate. Further, the Motion

and the Matera Declaration do not specifically identify which ‘insurance policies’ they contend

are assets of the Debtor’s estate. The Motion uses the phrase “insurance policies” a single time,


                                                   11
                   Case 23-16969       Doc 27     Filed 10/02/23      Page 12 of 24




but does not define it. See Motion ¶ 12. If the Debtor had intended to refer to the “Insurance

Policies” listed on Exhibit C to their ‘Insurance Motion,’ Dkt. No. 10-3, it would have said so. If

the Debtor is talking about the so-called ‘legacy and current insurance coverage for Abuse Actions’

referred to in paragraph 39 of the Motion, it would have said so. Ms. Dittrich and other abuse

survivors should not be left guessing about the Motion’s factual predicate.

        39.      Moreover, the Court cannot and should not enter an order using the phrase

“insurance policies” without defining it. Yet, that is precisely what the Debtor wants the Court to

do. See Dkt. No. 12-1, ¶ 2 (the proposed order filed with the Motion states that the Court is to order

that “[t]he Debtor’s insurance policies are property of the Debtor’s estate.”). It is unfathomable

that the Court could enter the Debtor’s proposed order, without actually defining the “Debtor’s

insurance policies.” While Ms. Dittrich does not cast dispersions on the Debtor’s counsel, the

proposed order here appears to be a re-tread of the same text that was used in Diocese of

Harrisburg’s stay extension order. See No. 20-bk-00599 (Bankr. M.D. Pa. April 2, 2020), Dkt.

No. 222. However, imprecise drafting in the Harrisburg case does not mean that this Court should

adopt it here.

        40.      Additionally, as stated more fully in Section III.B supra, the Debtor offers no

evidence that some or all of the Covered Parties:

             are ‘insured’ persons under the ‘insurance policies,’

             will make ‘claims’ under the ‘insurance policies,’

             will make ‘claims’ for ‘losses’ related to the Abuse Claims under the ‘insurance
              policies’ that will cause a reduction in the proceeds available from such ‘insurance
              policies,’ and

             Will seek reimbursement for defense costs related to the Abuse Claims under the
              ‘insurance policies’ that will cause a reduction in the proceeds available from such
              ‘insurance policies.’


                                                   12
                 Case 23-16969       Doc 27      Filed 10/02/23     Page 13 of 24




       41.     In short, the Debtors offer no admissible evidence that the estate’s property will be

harmed, much less face “immediate adverse consequences” (Motion at ¶ 8; Matera Decl., at ¶ 172),

if Abuse Actions are initiated and prosecuted against the Covered Parties. Moreover, the Debtor

offers no evidence to identify the entire universe of those who will be protected, or affected, by

the permanent injunction.

       42.     The trend in recent cases is to deny an extension of the stay when there is no detailed

evidentiary basis proffered by the debtor from which the court can find that actions against non-

debtors would diminish insurance proceeds that are shared with the debtor. See In re Diocese of

Buffalo, NY, 618 B.R. 400, 406–407 (Bankr. W.D.N.Y. 2020) (holding that there was not adequate

evidentiary support for the applicability of section 362(a)(3), however, noting that the debtor “has

supplied only an outline of insurance coverage. While this presentation is helpful, it falls far short

of proof sufficient to establish that litigation against Affiliated Entities would necessarily affect

property of the bankruptcy estate.”); In re Diocese of Rochester, 2022 WL 1638966, *5 (Bankr.

W.D.N.Y. May 23, 2022) (same); see also In re Roman Cath. Diocese of Rockville Ctr., New York,

651 B.R. 622, 641 (Bankr. S.D.N.Y. 2023). In fact, in Diocese of Rochester, the court stated that

“the Diocese made no effort to provide evidence showing that a specific CVA case would have a

materially adverse impact on the per-occurrence limits of a specific policy of insurance.” Diocese

of Rochester, 2022 WL 1638966, *5. Here, a cursory review of the Motion and the Matera

Declaration reflect that these cases follow the ill-fated playbook from Diocese of Buffalo and

Diocese of Rochester, and this Court should deny the Motion on this ground alone.

       43.     The Motion and the Matera Declaration do not evidence that the Abuse Actions

may expose the Debtor to “collateral estoppel, adverse precedent, vicarious liability, or imputed

admissions if the litigation continues” (see Motion, at ¶ 32). There is no risk to the Debtor of


                                                 13
                 Case 23-16969        Doc 27    Filed 10/02/23     Page 14 of 24




Collateral Estoppel, adverse precedent, vicarious liability, or imputed admission if an Abuse

Action against one or more Covered Parties is commenced and continues.

        44.     It is well settled that collateral estoppel may not be applied against a party in a

subsequent proceeding where the party did not have a full and fair opportunity to litigate the claim

or issue in the prior proceeding. Allen v. McCurry, 449 U.S. 90, 96–97 (1980); Collins v. Pond

Creek Mining Co., 468 F.3d 213, 217 (4th Cir. 2006). Here, the automatic stay precludes the

commencement or continuation of any action against the Debtor. Thus, the Debtor will not be a

party to litigation against the Covered Parties and cannot be collaterally estopped from later

litigating any issue in those actions. See, e.g., In re Pacor, Inc. v. Higgins, 743 F.2d 984, 995 (3d

Cir. 1984) (concluding that outcome of asbestos litigation involving non-debtor entity would “in

no way bind [Debtor], in that it could not determine any rights, liabilities, or course of action of

the debtors. Since Manville is not a party to the Higgins-Pacor action, it could not be bound by res

judicata or collateral estoppel.”).

        45.     The Debtor cites A.H. Robins to support its argument that “any Abuse Action

against a Covered Party may expose the Debtor to collateral estoppel, adverse precedent, vicarious

liability, or imputed admission if litigation continues.” See Motion, at ¶32 (citing A.H. Robins, 788

F.2d 994 [sic.], at 1007-08). But A.H. Robins says no such thing. Paragraph 32 of the Motion also

cites In re Plan 4 College, Inc., No. 09-17952DK, 2009 WL 3208285 (Bankr. D. Md. Sept. 24,

2009). But in In re Plan 4 College, Bankruptcy Judge Keir wrote “[t]o the extent that courts may

have held that collateral estoppel may bind a debtor where an adverse judgment is entered against

non-debtor parties in an action which has been stayed by the automatic stay, this court must

respectfully disagree.” 2009 WL 3208285, at *2.




                                                 14
                 Case 23-16969        Doc 27     Filed 10/02/23      Page 15 of 24




       46.     Lastly, the Debtor makes no effort whatsoever to explain how, as to each and every

Covered Party, the commencement and continuation of an Abuse Action presents a risk of

Collateral Estoppel, adverse precedent, vicarious liability, or imputed admission to the Debtor. If

the Debtor wants the relief it seeks, it should be required to explain this.

       47.     The Motion and the Matera Declaration do not evidence that the commencement

and prosecution of Abuse Claims against Covered Parties “will necessarily divert key Debtor

personnel from the reorganization process and, as a result, undermine the administration of the

estate and the ability of the Debtor to successfully consummate a plan of reorganization.” See

Motion at ¶ 33. Neither the Motion nor the Matera Declaration actually identify, by name, who the

“key Debtor personnel” are, nor do they bother to explain why each such person will be diverted

from the Debtor’s reorganization process if the Motion is denied, and Abuse Actions are

commenced and prosecuted against Covered Parties.

       48.     The Motion and the Matera Declaration do not evidence why allowing the Abuse

Claims to move forward against Covered Parties “would expose the Debtor to the risk of cross-

claims for indemnification and contribution, which in turn would necessarily require the Debtor’s

participation in any Abuse Claim against a Covered Party.” See Motion ¶ 34. Even if the Debtor

could produce admissible evidence to support such an allegation, which it does not, the Debtor

cites no case law that would support the Court’s consideration there. Id.

       B.      The Debtor Fails To Meet Its Burden To Establish A Factual Basis For
               Extending The Automatic Stay Under Section 362(a)(3) Because Section
               362(a)(3) Does Not Apply to Claims Against the Covered Parties, and the
               Debtor Fails to Demonstrate Any Immediate Harm to Estate Property

       49.     While the Motion does not mention Section 362(a)(3) a single time, the sole basis

for statutory relief explicitly ordered in the Proposed Order attached to the Motion (Dkt. No. 12-1)



                                                  15
                 Case 23-16969       Doc 27     Filed 10/02/23     Page 16 of 24




specifically references Bankruptcy Code Section 362(a)(3). To the extent the Debtor’s argument

is rooted in Bankruptcy Code section 362(a)(3), it must fail for several reasons.

        50.    First, the Debtor offers no evidence that some or all the Covered Parties are

‘insured’ persons under the ‘insurance policies.’ Therefore, there is no evidentiary support for the

Debtor’s argument that some or all Covered Parties will make ‘claims’ under the ‘insurance

policies.’ Moreover, there is no evidence that some or all Covered Parties will make ‘claims’ for

‘losses’ related to the Abuse Claims under the ‘insurance policies’ that will cause a reduction in

the proceeds available from such ‘insurance policies.’ Similarly, there is no evidence that some or

all Covered Parties will seek reimbursement for defense costs related to the Abuse Claims under

the ‘insurance policies’ that will cause a reduction in the proceeds available from such ‘insurance

policies.’

        51.    However, none of the facts presented by the Debtor in the Matera Declaration

support the Debtor’s assertion that property of the Debtor’s estate will be harmed, much less face

“immediate adverse consequences” (Motion, at ¶ 8, Matera Decl., at ¶ 172), if Abuse Actions are

initiated and prosecuted against the Covered Parties.

        52.    Moreover, Section 362(a)(3) of the Bankruptcy Code operates as a stay “of any act

to obtain possession of property of the estate or of property from the estate or to exercise control

over property of the estate.” There is no dispute that insurance policies held by a debtor are

property of the debtor’s estate. That does not mean that the proceeds of those insurance policies

are assets of the Debtor’s estate.




                                                16
                 Case 23-16969        Doc 27      Filed 10/02/23     Page 17 of 24




        C.      The Debtor Fails to Satisfy Traditional Factors For Issuance of a Preliminary
                Injunction Under Bankruptcy Code Section 105(a) and Bankruptcy Rule 7065

        53.     The Debtor recognizes that its request for an injunction under section 105(a) requires

satisfaction of the traditional preliminary injunction factors. See Motion ¶ 36. But the Debtor fails

to meet its burden of demonstrating that it can satisfy these factors.

        54.     A preliminary injunction may be awarded “only . . . upon a clear showing that the

[movant] is entitled to such relief.” Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 22 (2008).

The United States Supreme Court described the four-element standard for imposing preliminary

injunctions as follows.

        A plaintiff seeking a preliminary injunction must establish [(1)] that he is likely to
        succeed on the merits, [(2)] that he is likely to suffer irreparable harm in the absence
        of preliminary relief, [(3)] that the balance of equities tips in his favor, and [(4)]
        that an injunction is in the public interest.

Id., at 20.

        55.     Courts considering preliminary injunctions in the context of a bankruptcy

proceeding generally apply the usual preliminary injunction standard. A.H. Robins, 788 F.2d at

1008. Each of the four elements must be met. In re Bestwall LLC, 606 B.R. 243, 253 (Bankr.

W.D.N.C. 2019). For the reasons explained below, the Debtor fails to prove each of the four

elements.

                1.      The Debtor has not demonstrated a reasonable likelihood of success on
                        the merits.

        56.     In the context of a bankruptcy case, likelihood of success on the merits has been

understood as likelihood of a successful reorganization. See Aldrich, 2021 WL 3729335, at *30–

32; DBMP, 2021 WL 3552350, at *39; Bestwall, 606 B.R. at 253.

        57.     There is simply no way to know, at the inception of this case, whether the Debtor

will be able to successfully reorganize. In fact, the Matera Declaration does not say anything on the

                                                  17
                  Case 23-16969      Doc 27      Filed 10/02/23       Page 18 of 24




topic. The Matera Declaration does not say that the Debtor’s goal is to negotiate, obtain approval

of and ultimately consummate a plan of reorganization, let alone state that the Debtor intends on

establishing and funding a trust to resolve and pay Abuse Survivors. The only statement that is

close to that is Matera’s statement that “any actions against Covered Parties would … significantly

impact the Debtor’s contributions to any trust established for the purpose of providing payments

to Claimants.” Matera Decl. at ¶ 177. That statement is simply not enough for the Court to find

that there is a reasonable prospect of a successful reorganization.

               2.      There is no evidence that the Debtor will suffer irreparable harm in the
                       absence of preliminary relief.

       58.     Irreparable harm requires a demonstration by the movant that it is likely—not just

possible—in the absence of an injunction. Winter, 555 U.S. at 22. As the Supreme Court noted,

“[i]ssuing a preliminary injunction based only on a possibility of irreparable harm is inconsistent

with our characterization of injunctive relief as an extraordinary relief that may only be awarded

upon a clear showing that the plaintiff is entitled to such relief.” Id. (citing Mazurek v. Armstrong,

520 U.S. 968, 972 (1997)). The Debtor fails to demonstrate that the commencement and/or

continuation of an Abuse Action against Covered Parties will cause the Debtor irreparable harm.

       59.     The Debtor argues that “Actions against a non-debtor should be stayed where

allowing them to proceed would adversely impact the debtor’s reorganization.” Motion at ¶ 41

(citations omitted). The Debtor states, without evidentiary support, that

       in the absence of the relief requested, there will be an uncontrollable scramble for
       one of the Debtor’s most significant assets—its current and legacy insurance
       assets—with the very likely prospect of a few creditors recovering at the expense
       of all similarly situated creditors, irreparably harming the Debtor’s prospects of
       reorganizing under the Bankruptcy Code and all creditors’ prospects of obtaining
       an orderly, reasonable, and equitable outcome under a plan of reorganization.

Motion at ¶ 43.


                                                 18
                 Case 23-16969       Doc 27     Filed 10/02/23       Page 19 of 24




       60.     But there is no legitimate basis for this argument. There is no race to collect on a

judgment for the mysterious “current and legacy insurance assets.” Id. In fact, the filing window

under the CVA just opened, permitting the filing of Abuse Actions. There is no “race to the

courthouse.” Id., at ¶ 59. Even Matera doesn’t bother to go near this one.

               3.       The relative harm to Abuse Survivors From a Permanent Injunction
                        Outweighs Any Unspecified Harm to the Debtor’s Estate in the
                        Absence of an Injunction.

       61.     The Debtor has the audacity to argue that the balance of equities favors the Debtor

because “it would … be to the detriment of any potential sexual abuse claimants” to deny an

extension of the automatic stay to the Covered Parties. See Motion ¶ 45. The Debtor then retreads

its prior argument that “Permitting the Abuse Actions to proceed will divert Debtor’s key personnel

from their duties and obligations in this Chapter 11 Case.” See Motion at 13. For the reasons

addressed above (see Section III.A, supra), this argument fails as the Debtor does not identify who

the Debtor’s key personnel are, and how such individuals (if they actually exist), would be diverted

from their duties and obligations in the Debtor’s chapter 11 case.

       62.     The Debtor also argues that “[t]he Debtor would likely be forced to participate in

any Abuse Actions to protect its own interests” (see Motion at 14) absent the relief sought in the

Motion. This is another retread of Debtor’s argument that the Abuse Actions may expose the

Debtor to “collateral estoppel, adverse precedent, vicarious liability, or imputed admission if the

litigation continues.” See Motion at ¶ 32. But there is no risk to the Debtor of Collateral Estoppel,

adverse precedent, vicarious liability, or imputed admission if Abuse Actions are commenced and

continue (see Section III.A, supra), and the Debtor’s argument in paragraph 49 of the Motion does

not change that fact.




                                                 19
                 Case 23-16969       Doc 27     Filed 10/02/23     Page 20 of 24




       63.     Moreover, the Debtor complains that “any Abuse Action against a Covered Party

could substantially prejudice the Debtor by precluding it from relitigating any issues of fact or law

determined in such a case regarding any Abuse Claim, including those issues that would be critical

to the Debtor’s defense.” Motion at ¶ 50. The Debtor then argues that it “may be denied the

opportunity to present its own defenses should it need to litigate any cross-claims for contribution

and indemnification.” Id. But the Debtor conveniently forgets that if the Abuse Actions proceed

unimpeded, then the Debtor will still be able “to litigate any cross-claims for contribution and

indemnification.” Id. The Debtor currently has that right, and the Court’s refusal to approve the

Motion will not change that.

       64.     The Debtor argues that even with the imposition of a permanent injunction, the

“Abuse Claimants would still be permitted to pursue and recover upon Abuse Actions.” Motion at

16. It is impossible to fathom how the Debtor can think the Abuse Actions against Covered Parties

would be an integral part of the Debtor’s chapter 11 cases, when the Debtor is seeking to deny

Abuse Survivors, who the Debtor has the nerve to label “Abuse Claimants,” the right to sue the

Covered Parties.

       65.     The balancing of relative harms that each party may suffer from the grant or denial

of an injunction is “arguably, the most critical element” of the four-prong injunction test. 2

COLLIER ON BANKRUPTCY, ¶ 105.03[1]. Courts recognize that the analysis is fact intensive. In

In re Saxby’s Coffee Worldwide, LLC, 440 B.R. 369 (Bankr. E.D. Pa. 2009), the bankruptcy court

engaged in an extensive analysis of the facts and parties in connection with a motion to stay

litigation against various individuals and entities associated with the debtor. The court observed:

“The determination whether to grant or deny a §105 injunction is intensely fact driven. . . . As with

any request for entry of a traditional injunction, the outcome tends to be driven by the debtor’s


                                                 20
                 Case 23-16969       Doc 27      Filed 10/02/23     Page 21 of 24




ability or inability to marshal facts demonstrating that the pending nonbankruptcy proceedings

against the nondebtors pose a serious risk to its reorganization and the court’s assessment of the

relative harms each side may suffer from the grant or denial of the injunction request.” Id. at 380.

       66.     The imposition of a permanent injunction to prevent the filing and prosecution of

Abuse Actions will inflict substantial harm on Abuse Survivors. Abuse Survivors are entitled to

bring their legitimate tort claims against non-debtor Covered Parties. That right will be eliminated

by a permanent injunction. Many of the Abuse Survivors experienced sexual abuse decades ago

and are now elderly or ill. A stay of their litigation against the Covered Parties in some cases means

that Abuse Survivors will never see the perpetrators of their abuse held accountable. Any litigation

delay, let alone a permanent one, will create a risk of further loss of memory, testimony, and

available evidence. A broad, permanent injunction will prejudice the Abuse Survivors by

precluding critical discovery from solvent non-debtors. A broad, permanent injunction protecting

the Covered Parties will deprive the Abuse Survivors’ of a day in court, where they can directly

name and accuse their abusers.

               4.      The Public Interest Weighs Against an Injunction.

       67.     The Debtor contends “that it and this chapter 11 Case meet the “unusual

circumstances” requirement.” See Motion, at ¶ 54 (citing In re Cornus Montessori, LLC, No. 21-

10213-KHK, 2021 WL 1521530, at *3 (Bankr. E.D. Va. Apr. 16, 2021); In re Qimonda AG, 482

B.R. 879, 896 (Bankr. E. D. Va. 2012)). But as detailed in Section III.A, supra, the Debtor cannot

prove that their chapter 11 case meets the “unusual circumstances” requirement. The Debtor then

falls back upon broad platitudes of the paramount goals of the Bankruptcy Code. See Motion ¶¶ 56-

57.




                                                 21
                   Case 23-16969       Doc 27     Filed 10/02/23     Page 22 of 24




          68.    The Debtor completely misses the point about the public interest and how it relates

to the requested injunctive relief. While facilitating a successful reorganization may be a factor

that courts consider, it is not the determining or sole factor. Some courts considering the public

interest factor have required a balancing of the public interest in a successful reorganization with

other competing societal interests. See, e.g., In re Pick-Your-Own, Inc., No. 19-20821, 2019 WL

7945869, at *3 (Bankr. W.D.N.Y. Nov. 21, 2019); In re Saxby’s Coffee Worldwide, LLC, 440 B.R.

at 379.

          69.    The competing societal interests are self-evident in the enactment of the CVA,

permitting the commencement and continuation of decades old sexual Abuse Claims. There was a

compelling policy reason why the Maryland General Assembly enacted the CVA and Governor

Wes Moore signed it into law. Only in a perverse, parallel universe is the societal interest of

protecting child abusers among the Covered Parties more important than the interest of Abuse

Survivors in pursuing legal remedies against their abusers.

          70.    Thus, the imposition of a permanent injunction is not in the public interest.

IV.       CONCLUSION

          For the reasons set forth above, Eva Dittrich respectfully requests that the Court enter an

order denying the Motion.

DATED: OCTOBER 2, 2023
                                                    RESPECTFULLY SUBMITTED,

                                                    /s/ Steven J. Kelly
                                                    Steven J. Kelly (Fed. Bar No. 27386)
                                                    M. Elizabeth Graham (application for
                                                    admission pro hac vice forthcoming)
                                                    Suzanne Sangree (Fed. Bar No. 26130)
                                                    Cynthia B. Morgan (application for admission
                                                    pro hac vice forthcoming)
                                                    GRANT & EISENHOFER, P.A.
                                                    3600 Clipper Mill Road, Suite 240

                                                  22
Case 23-16969   Doc 27   Filed 10/02/23   Page 23 of 24




                           Baltimore, Maryland 21211
                           Phone: (443) 531-1474
                           skelly@gelaw.com
                           egraham@gelaw.com
                           ssangree@gelaw.com
                           cmorgan@gelaw.com

                           Gordon Z. Novod (application for admission
                           pro hac vice forthcoming)
                           GRANT & EISENHOFER, P.A.
                           485 Lexington Avenue
                           29th Floor
                           New York, NY 10017
                           Telephone: (646) 722-8523
                           gnovod@gelaw.com


                           Robert K. Jenner (Fed. Bar No. 04165)
                           Kathleen R. Kerner (Fed. Bar No. 18955)
                           JENNER LAW, P.C.
                           3600 Clipper Mill Road, Suite 240
                           Baltimore, Maryland 21211
                           Phone: (410) 413-2155
                           Fax: (410) 982-0122
                           rjenner@jennerlawfirm.com
                           kkerner@jennerlawfirm.com


                           BAIRD MANDALAS BROCKSTEDT &
                           FEDERICO, LLC
                           Philip C. Federico (Fed. Bar No. 01216)
                           Brent P. Ceryes (Fed. Bar No. 19192)
                           Wray Fitch (Fed. Bar No. 19722)
                           Catherine M. Cramer (application for
                           admission pro hac vice forthcoming)
                           pfederico@bmbfclaw.com
                           bceryes@bmbfclaw.com
                           wfitch@bmbfclaw.com
                           ccramer@bmbfclaw.com

                           COUNSEL FOR EVA DITTRICH




                         23
                 Case 23-16969        Doc 27     Filed 10/02/23      Page 24 of 24




                                  CERTIFICATE OF SERVICE

       The undersigned will cause a true and correct copy of the foregoing to be served on all

parties required to be served, with a certificate or affidavit of service to be filed subsequently, all

in accordance with Local Rule 9013-4.


                                               /s/ Steven J. Kelly
                                               Steven J. Kelly (Fed. Bar No. 27386)




                                                  24
